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         EXHIBIT 165
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                                                                        Page 1

1                        UNITED STATES DISTRICT COURT
2                      FOR THE DISTRICT OF MASSACHUSETTS
3       ------------------------------------X
        STUDENTS FOR FAIR ADMISSIONS, INC., )
4                                                           )
                                 Plaintiff,                 )
5                                                           )   Civ. No.
                vs.                                         )   14-cv-14176-
6                                                           )   (ADS)
        PRESIDENT AND FELLOWS OF HARVARD                    )
7       COLLEGE (HARVARD CORPORATION),                      )
                                                            )
8                                Defendant.                 )
        ------------------------------------X
9
10                                July 27, 2017
11                                1:00 p.m.
12
13                  DEPOSITION OF                      , taken by
14      Defendant, held at the offices of Wilmer Cutler
15      Pickering Hale and Dorr LLP, 7 World Trade Center,
16      New York, New York, pursuant to Subpoena, before by
17      Mayleen Ahmed, a Registered Merit Reporter,
18      Certified Realtime Reporter, Washington Certified
19      Court Reporter, and Notary Public of the State of
20      New York.
21
22
23
24

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1       president and the Board?
2                    MR. PARKS:        Objection.
3             A.     "Members are afforded the opportunity to
4       discuss SFFA's... business" -- "mission and
5       business with the president of the Board."
6                    I believe I have been afforded that
7       opportunity, yes.
8             Q.     How have you been afforded that
9       opportunity?
10            A.     At the initial meeting with Edward Blum,
11      he told me to feel free to contact him with any
12      further questions and --
13            Q.     That -- sorry.
14            A.     And I believe he also said that in
15      several emails, "Feel free to contact me with any
16      questions."
17            Q.     Has he ever met you since you've been a
18      member of SFFA?
19                   MR. PARKS:        Objection, and instruct the
20            witness not to answer.             It's asking about the
21            content of communications among members.
22            Q.     Have you ever availed yourself of the
23      opportunity to email Mr. Blum?
24            A.     Have I ever availed myself to contact


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1                    MR. PARKS:      Objection.
2            A.      Perhaps I would ask for more active
3       invitations for conference calls.                   I don't know.
4            Q.      Aside from appearing at this deposition
5       today, have you provided any kind of service to SFFA?
6                    MR. PARKS:      Objection.
7            A.      Can you clarify what you mean by "service"?
8            Q.      Have you devoted any time to serving SFFA?
9                    MR. PARKS:      Objection.
10           A.      No.
11           Q.      How much total time do you think you've
12      spent on activities relating to SFFA since you
13      joined it?
14           A.      I don't know the total amount of time.
15           Q.      Are you aware of any instance when an
16      SFFA member provided input, direction, or guidance
17      to SFFA?
18                   MR. PARKS:      Objection.
19           A.      Sorry.    Could you repeat the question?
20           Q.      Sure.    Are you aware of any instance when
21      an SFFA maybe provided input, direction, or
22      guidance to SFFA?
23                   MR. PARK:     I'm going to instruct the
24           witness not to answer that question.                  It calls


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1             for communications among members, maybe among
2             counsel.     I don't even really know what the
3             question is asking for, but it's --
4                    MR. WINIK:       You can just state that you
5             object on privilege grounds, if that's the
6             objection.
7                    MR. PARK:      I'm instructing the witness
8             not to answer on privilege and, I think, first
9             amendment grounds.
10            Q.     And, again, I'm not asking for the
11      content of any such communications, I'm just
12      asking:     Yes or no, are you aware of an instance in
13      which an SFFA member provided input, direction or
14      guidance to SFFA?
15                   MR. PARK:      And I'm repeating the same
16            instruction.
17            Q.     Have you ever disagreed with the decision
18      SFFA has taken?
19                   MR. PARKS:       Objection.            Asked and
20            answered.
21                   MR. WINIK:       I asked it about this
22            litigation.
23            Q.     Have you ever more generally disagreed
24      with the decision SFFA has taken?


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1                               C E R T I F I C A T E
2
            STATE OF NEW YORK           )
3                                       ) ss.
            COUNTY OF BRONX             )
4
5                         I, MAYLEEN AHMED, a Registered Merit
6                   Reporter, Certified Realtime Reporter,
7                   Washington Certified Court Reporter and Notary
8                   Public of the State of New York, do hereby
9                   certify that the foregoing deposition of
10                             was taken stenographically before me
11                  on July 27, 2017 and transcribed by me.
12                        That the witness was duly sworn by me,
13                  and that such deposition is a true record of
14                  the testimony given by such witness.
15                        I further certify that I am not related
16                  to any of the parties to this action by blood
17                  or marriage, and that I am in no way interested
18                  in the outcome of this matter.
19                        IN WITNESS WHEREOF, I have hereunto set
20                  my hand this 3rd day of August 2017.
21
22
                                <%Signature%>
23                      --------------------------------------
24                     MAYLEEN AHMED, RMR, CRR, WA CCR No. 3402

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